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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 IN RE SYNGENTA AG MIR162 CORN
 LITIGATION                                        Master File No. 2:14-MD-02591-JWL-JPO

                                                   MDL No. 2591

                                     NOTICE OF APPEAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

   Notice is hereby given that (i) Weller, Green, Toups & Terrell, LLP; Richard L. Coffman,

P.C. dba The Coffman Law Firm; Richardson, Patrick, Westbrook & Brickman, LLC; Aaron D.

Hovan, Attorney at Law; Abreo & Carter; Barrett Wylie, LLC; Butler Snow, LLP; Conrad F.

Cropsey, Attorney at Law; Durrett, Arkema, Gerson & Gill, P.C.; Dye Snyder, LLP; E. Rudolph

McIntyre, Attorney at Law; Estes & Kennedy Law Offices, PLLC; FisherBroyles, LLP; Chris

W. Fitzgerald, Attorney at Law; Gamble & Russell, P.C.; Greak Law, P.C.; Hajjar Peters, LLP;

Hallett, Hallett & Nagel; James M. Pietz, Attorney at Law; Jinks, Crow & Dickson, P.C.; John E.

Tarburton, Attorney at Law; Orlans, P.C.; John L. Jernigan, III, Attorney at Law; Kenneth G.

Walsh, Attorney at Law; Otts, Moore, Coale, Godwin, Stearns & Darby; Ray, Winton & Kelley,

PLLC; Slaven Law Group; Teel & Maroney, PLC; Thomas P. Calhoun, III, Attorney at Law;

Thompson, Garrett & Hines; Trousdale Ryan, P.C.; W. Dean Belk, Jr., Attorney at Law; Molleur

Law Office; Joseph F. Manak, Attorney at Law; John M. Totten, P.C.; Bigham Law Firm;

Nathan A. East, Attorney at Law; Richard Russell, Attorney at Law; Kizer, Bonds, Hughes &

Bowen, PLLC; Terrie Harman, Attorney at Law; William Thomas, Attorney at Law; and White

& Allen P.A. (collectively, Toups/Coffman Plaintiffs’ Counsel)1, and (ii) their clients,



   1
     Toups/Coffman Plaintiffs’ Counsel are also found in the record at, inter alia, Exhibit D to
the Memorandum supporting Toups/Coffman Plaintiffs’ Counsel’s Motion for an Award of
                                              1
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Toups/Coffman Plaintiffs2 hereby appeal to the United States Court of Appeals for the Tenth

Circuit from the December 7, 2018 Memorandum and Order and December 7, 2018 Final Order

and Judgment entered in this action (ECF Nos. 3849 and 3850) and from all interlocutory orders

incorporated therein, including (without limitation) any order or judgment naming, identifying,

and/or adjudicating motions, applications, objections, and/or other requests made by

Toups/Coffman Plaintiffs’ Counsel and/or Toups/Coffman Plaintiffs pertaining to, delineating,

and/or affecting the process, procedures, and criteria for, and the administration of, the allocation

and distribution of the attorneys’ fees and expenses awarded by the Court in this action. Such

interlocutory orders include, without limitation, ECF Nos. 1745, 3366, 3531, 3811, and 3812.

   This appeal is taken from the above-referenced December 7, 2018 Final Order and Judgment

and orders only with respect to their provisions pertaining to, delineating, and/or affecting the

process, procedures, and criteria for, and the administration of, the allocation and distribution of


Attorneys’ Fees and Expenses (ECF Nos. 3566 and 3567), ECF No. 3816, Exhibit 2, and the
various complaints filed on behalf of their clients, the Toups/Coffman Plaintiffs.
   2
     Toups/Coffman Plaintiffs are Toups/Coffman Plaintiffs’ Counsel’s clients who may be
found in the record at, inter alia, Exhibit B to Plaintiffs’ Original Petition filed in Watson v.
Syngenta Seeds, LLC, et al; Cause No. 96081-CV; in the 412th Judicial District Court of Brazoria
County, Texas, which was removed to the Southern District of Texas (Cause No. 3:18-cv-
00126), and, pursuant to CTO-85 (ECF Nos. 3543 and 3544), transferred to this Court by the
Judicial Panel on Multidistrict Litigation (“MDL Panel”) for coordinated or consolidated pretrial
proceedings in this action (collectively “Toups/Coffman Plaintiffs”). Watson was assigned a new
case number in the District of Kansas: 2:18-cv-02284-JWL-JPO. See unnumbered Docket
Annotation between ECF Nos. 3544 and 3545. Plaintiffs’ Original Petition in Watson, including
Exhibit B listing the Toups/Coffman Plaintiffs, is at ECF No. 1 in Cause No. 2:18-2284-JWL-
JPO (D. Kan.).

    Toups/Coffman Plaintiffs also may be found in the record at, inter alia, the Complaints filed
in J&P Farm, et al v. Syngenta Corporation, et al, Case No. 2:15-cv-07999-JWL-JPO (D. Kan.),
Borah, et al v. Syngenta Corporation, et al, Case No. 2:15-cv-09133-JWL-JPO (D. Kan.),
Williams Farms, et al v. Syngenta Corporation, et al, Case No. 2:15-cv-02696-JWL-JPO (D.
Kan.), and Dirba Farms, et al v. Syngenta Corporation, et al, Case No. 2:15-cv-02699-JWL-JPO
(D. Kan.), all of which were transferred to this Court by the MDL Panel for coordinated or
consolidated pretrial proceedings in this action and/or filed directly in this action.
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the attorneys’ fees and expenses awarded by the Court in this action. Toups/Coffman Plaintiffs’

Counsel and Toups/Coffman Plaintiffs specifically do not appeal the fairness and/or overall

amount of the settlement of this action. Toups/Coffman Plaintiffs’ Counsel and Toups/Coffman

Plaintiffs also do not assert that the attorneys’ fee award should be in excess of the

$503,333,333.33 of attorneys’ fees previously awarded by the Court in this action.

Date: January 7, 2019

                                              Respectfully submitted,

                                              By: /s/ Mitchell A. Toups
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                                              ON BEHALF OF TOUPS/COFFMAN
                                              PLAINTIFFS’ COUNSEL AND
                                              TOUPS/COFFMAN PLAINTIFFS




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                                 CERTIFICATE OF SERVICE

    I certify that a true and correct copy of this Notice of Appeal was served on all counsel of
record, via the Court’s electronic filing system, on January 7, 2019.

                                              /s/ Mitchell A. Toups
                                              Mitchell A. Toups




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